Case: 1:10-Cv-02953 Document #: 51-4'Filed: 10/21/11 Page 1 of 10 Page|D #:214

Exhibir 10  

Case: 1:10-Cv-02953 Document #: 51-4 Filed: 10/21/11 Page 2 of 10 Page|D #:215

 

 

SHER!FF oF cook crouer
coURT sEercEs DEPARTMENT
USE oF FoRCE REPGRT
DATE 28 Ma.z 08
T;ME 1600 HRS.
REPORTING oz=mcems NAME PRZYBYLA, xAMEs ama #_*M_

TYPE OF FORCE USED (CHECK)

PHYSICAL FORCE f BA'|"ON

 

 

 

 

cc sPRAY___oTHER (EXPLMN)
TYPE c`)P lNchENT _ ALTE_RQATIQN m coURTROOM
mcmon op rNcr;jENT #307
oFcmER/Wrmass messz D/S woons, w. #3471 AND D/s TUCKER. 1~#4574

 

PERSON($) mace wAs uses AGAINST
mm JACKSON,LABURRQN cHARGE{s) UNKNowN
NAME cHMzGE{sz
suBJEcT cLAss:FrcATroN:_.r___PAsswE REsls~rEzz_ __M__Acrw'a RESISTER …AssAzLANT

DESCRIBB WHY THE USE O¥" FORCE WAS NECESSA,RY ' '
R/O RBSPONDED TO AN "ALL AVAILAB.LE" CALL lN COURTROOM #307, WH`EN RlO ENTERED TH]E
COURTROOM. R."O OBSERVED SUB.YECT (NOW KNOWN AS IACKSGN, LA`BURRON) BE!NG
VERBALLY ACT¥VE IN THE ALTERCATION TAKING PLACE. R{G THEN 'I'OLD SPJ,D SUBIECI‘ TO BE
QUIET AND PUT HI_S HANDS BEHIND I-HS BACK. AT TH!S TIME SA.LD SUBIECT WAS COOPERATIVE
AND COMPLIED WITH R/‘O'S REQUEST. SAID SUB.TECT WAS ’I`HEN HANDCUFFED A'ND
TRANSPORTED TO THE ARREST ROOM (#530) WITHOUT PURTHER INCIDENT_

w oct sPRAY w/.\s usED_. ist AcTzoN TAKEN BY oPFrcER 110 MrrxGATE THE EFFEc'rs 01= we sz>mw
' \WEN I)NA 7 wH!~:RE DNA

WAS FTRST MD REQUIRED? NO ,¢f YES BY WH'OM

 

WAS MEDICAL ATTE`NTION REQUIRED? NO ` if `YES BY WHOM

RBPORTING oFPrcF.R‘S slG_NATURE ~).~ DATE 28 my 98

WATCH CoMMANDER/su?ap.vxsows_ sIGNA'ruRE \\C;§¥Y/\‘RM&#<QWD

(CS DIG/\/OZ-'i)

CCSAO 00344

Cdse: 1:10-Cv-02953 Document #: 51-4 Filed: 10/21/11 Page 3 of 10 Page|D #:216

EXhibit 11

Case: 1:10-Cv-02953 Document #: 51-4 Filed: 10/21/11 Page 4 of 10 Page|D #:217

SHERIFF GF COOK COUNTY
CDURT SERVIC.ES DEPARTMENT
USE`OF FORCE REPORT

 

DA~TE §§ MYCFB/
TIME_M

REPORT_ING OFFICER SNAME 535 lGC‘.D KM _ STAR# DGCQS

TYPE 01= FORCE usED mrch
PHYSICAL FORCELBATON v oc sPRAv_____orHER <EXI=LMN>
TYPE 01= INCIDENT Q{‘€ 51 STF N" 61 AKQ»:-Z~ST _ _
L¢cATroN 01= mc!DF,NT ,1€1“».1,¢0¢‘<{- CQWCVS K msu/wa 3 57

OFFICER/W[TNESS PRESENT

 

 

PERSON(S) FGRCE wAs USED AGAINST

l NAMEL;\_CL(;L_B@=QNDL____GHARGE(S) Q@S 1 5T1 10 G¢ A @£;€ST

NAME CHARGE(S§

 

SUBIECT CLASSIFICATION: PASS!VE RESISTER \/A`C'I`TVE RESISTER ASSAILANT`

 

DESCR IEE WHY TI'TE USE OF FORCB WAS NECESSARY
fl/o O@Se,@@-Q uo~ei. 15th C{,ITAK@~¢Q §5& mma
A,,;O Dgf,¢x¢,¢eo f-HM U~MITIL A~_z$zswwce A:Uwe€>

/-Xssl$+e;§ b\/ bam€.$, ab \5""6@3‘<©

IF OC SPRAY WA$ USED, L.IST ACTION TAKEN BY GFFTCER TO MIT!GATE THE E`FPECTS OF THE SPRAY

 

 

 

WHEN id / F\ wHER:~:

' w/.¢\S 11le1 A.m REQUIRED? No____' was v BY wHoM
w¢\$ M'ED\»::AL ATTENTION REQUIRED? No______ Yzzs BY wHoM
REPORTING osFchR‘S SiGN~ATURE _J_;?/ I)/-Qs-- DATE 9

 

wATcH coMMANDER/suz>mzvrsows sIGNATURE §§de ¢W~LKD

n {CSD!'OA/OZ- l )

CCSAO 00349

Case: 1:10-Cv-02953 Document #: 51-4 Filed: 10/21/11 Page 5 of 10 Page|D #:218

EXhibit 12

Case: 1:10-Cv-02953 Document #: 51-4 Filed: 10/21/11 Page 6 of 10 Page|D #:219

SHERI.FF OF COOK COUNTY
COUR.T SERVICES DEPARTMENT
USE OF FORCE REPORT

 

DA~TE §§ M&>‘_ g g
1111/113 DBQO

. /
REPORTING 01=1=1€§12’$ NAME b/S 1950 L ZA¢MQS` sTAR# Bj_`)(';§

TYPE 01-‘ FoRcE usED <cHEcKz
PHYsmAL FORCF_L»,ATQN oc sPRAY 0THER(E><P1.A1N1
TVPE oF rNCIDENT AQ.Q. B/-`k/T§§'?/

LocATIoN 01= 1NC11:11~;NT F`w~mM., C,§¢,LJLTS 200 M. 5 307
oFFICER/wimess PRESENT I>/ 5 mt I_Lz Am \A\ 960 5
PERSON<SJ FoRcE wAs usED AGAn~rsT

NAME_AN 'I`mo¢u l?>£au.:rd v cHARGE(s) €Q[LDM 1105

NAMB CHARGB{S}

 

 

 

swach cr.,¢\ss_rFchTroN; _PAsssz aesrsTER __ACT;VE REsxerR M_Assmmwr
nascasz wHY THE use oF FoRcE WAS NECESSARY ~ _ l _
K/D wind 655615 'ANTW¢N @f(n,w:d 'S»eL-aué Auog PM<;(:L
M$ h}at.¢.mvm wooosug”iw Révd ANTM$G/d B£mor<¢ SFLT
@“] '21/0 mb&éw 1516 wAS L&A~QC\»»FFW€: éjmm.

11= oc sPRAY ms USED‘ L1ST A<;T.IQN TM<F,N ev 0F1=1CBR 10 MchTE 1115 EFFECTS oF THE sPRAY
wr-r'ew !“~d / k 1 WHBRE
wAs PIRST ArD REQUmED? No ' Y,ES BY Wr'~rc)M

WAS MEDICAL ATTE`.NTIGN REQUIRED? NO \/ YES BY WHOM

Rr.PoRTING QFFICER’s smNATUREMLMU`§_ DATEME
wmch coMMANDBR/sUPExz\/mor<‘s SIGNATL)RE \S@éf …M@/\ ri§%

(csn/GAroz- 13

CCSAO 00352

Case: 1:10-Cv-02953 Document #: 51-4 Filed: 10/21/11 Page 7 of 10 Page|D #:220

EXhibit 13

Case: 1:10-Cv-02953 Document #: 51-4 Filed: 10/21/11 Page 8 of 10 Page|D #:221

 

Narrative Cont.

 

 

.CR#

 

 

 

p<z,v b//¢W”/QW" \ (f?z`¢f

/1*7 '_ /5£,¢5/ »A,/O tod/45 ; ,§r"-(-,~'W/»u¢;"’ 507 /'V /Z@' /0@

£/o MLS'-§,¢b;w*§@“ 7?€> .*5`*<‘:'¢¢¢“/7.(7>/_¢7¢¢ 'F`M C°M'M°°”?

507¢/@ 940 'FO<OLM%QM /'4"97§"“° ’CU”"“&;
§ 47§1 7 0 4a `/+@' W¢¢F/@<) 745 fn *7/_¢'5¢‘”7 y C.;U</V/

 

   

ag v 7'@ ' /441;4.~@§7"§ 400

 

OOGOIZO

 

 

CLAY000098

Case: 1:10-Cv-02953 Document #: 51-4 Filed: 10/21/11 Page 9 of 10 Page|D #:222

EXhibit 15

223

10/21/11 Page 10 of 10 Page|D #

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51-4 Fi

10-CV-02953 Document #

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Case

W.v..

 

